             Case 2:21-cv-00909-JAD-DJA Document 55 Filed 04/13/23 Page 1 of 4



1    Ralph A. Schwartz, Esq.
     Nevada Bar No. 5488
2
     RALPH A. SCHWARTZ, PC
3    400 South Seventh Street, Suite 100
     Las Vegas, Nevada 89101
4    Telephone: (702) 888-5291
     Facsimile: (702) 888-5292
5
     mail@888law1.com
6    Attorneys for Plaintiff

7                                         UNITED STATES DISTRICT COURT
8
                                                  DISTRICT OF NEVADA
9
     RALPH A. SCHWARTZ, PC,                  )
10   Professional Corporation;               )
                                             )
11   Plaintiff,                              )
                                             )
12
                       vs.                   )   Case No.: 2:21-cv-00909-JAD-DJA
13                                           )
     JAMES M. SNYDER, individually;          )
14   OPERATING ENGINEERS LOCAL 501 )
     SECURITY FUND, doing business in Clark )
15   County, State of Nevada; COMMUNITY )
     AMBULANCE; INNOVATIVE PAIN              )
16   CARE CENTER; J. PAUL WIESNER & )            STIPULATION AND ORDER FOR
     ASSOCIATES, CHARTERED, a Nevada )           PRO RATA DISTRIBUTION and
17   Domestic Professional Corporation d/b/a )   FINAL JUDGMENT
     RADIOLOGY ASSOCIATES OF                 )
18   NEVADA; FREMONT EMERGENCY               )
     SERVICES (SCHERR), LTD., a Nevada       )
19   Domestic Professional Corporation;      )
     VALLEY HEALTH SYSTEM LLC, a             )
20   Foreign Limited-Liability Company d/b/a )            ECF No. 54
     SPRING VALLEY HOSPITAL MEDICAL )
21   CENTER; MICHAEL SCHNEIER                )
     NEUROSURGICAL CONSULTING, P.C., )
22   a Nevada Domestic Professional          )
     Corporation; DIGNITY HEALTH, a          )
23   Foreign Nonprofit Corporation d/b/a     )
     ST. ROSE DOMINICAN, SIENA               )
24   CAMPUS; LAW OFFICES OF                  )
     STEPHENSON, ACQUISTO &                  )
25   COLMAN, INC., a California corporation; )
     HEALTHCARE REVENUE RECOVERY )
26   GROUP, LLC, a Foreign Limited-Liability )
     Company d/b/a HRRG; PLUSFOUR, INC., )
27   a Nevada Domestic Corporation; DOES 1 )
     through 10, inclusive; and ROE          )
28   CORPORATIONS 1 through 10, inclusive, )
                                             )
            Case 2:21-cv-00909-JAD-DJA Document 55 Filed 04/13/23 Page 2 of 4



1    Defendants.                            )
                                            )
2

3            Plaintiff, by and through its the undersigned counsel, and Defendants, by and through their
4
     undersigned counsel, hereby stipulate and agree as follows:
5
             IT IS HEREBY STIPULATED AND AGREED that all answering Defendants who have
6

7
     timely answered the Complaint in Interpleader have valid liens against James M. Snyder’s

8    recovery as follows:
9            OPERATING ENGINEERS LOCAL 501 Security Fund--$14,524.98
10
             IT IS FURTHER STIPULATED AND AGREED that Attorney’s fees be awarded to
11
     Plaintiff at the contracted rate of 33 1/3% in the amount of $8,333.33 and costs in the amount of
12

13
     $2,141.69.

14           IT IS FURTHER STIPULATED AND AGREED that the remaining $14,524.98 be
15   distributed to Defendant OPERATING ENGINEERS LOCAL 501 Security Fund, which timely
16
     filed an Answer to the Complaint in Interpleader.
17
             IT IS FURTHER STIPULATED AND AGREED that the providers are not prevented from
18
     pursuing James M. Snyder for the balance of their respective bills.
19
             IT IS FURTHER STIPULATED AND AGREED that this will act as a final judgment as
20
     to all other parties.
21           IT IS FURTHER STIPULATED AND AGREED that this matter may be dismissed with
22   prejudice.
23                   Dated this 3rd day of April, 2023.
24   //
25
     //
26
     //
27

28
     //
           Case 2:21-cv-00909-JAD-DJA Document 55 Filed 04/13/23 Page 3 of 4



1    RALPH A. SCHWARTZ, PC
2
     /s/ Ralph A. Schwartz, Esq._____
3    Ralph A. Schwartz, Esq.
     Nevada Bar No. 5488
4    400 South Seventh Street, Suite 100
     Las Vegas, Nevada 89101
5
     Attorneys for Plaintiff
6

7    LAW OFFICES OF STEPHENSON, ACQUISTO & COLMAN, INC
8

9    /s/_Venetia Byarys_______________________________
     Venetia Byars, Esq.
10   303 North Glenoaks Blvd., #700
     Burbank, California 91502
11
     Attorneys for Defendant
12   DIGNITY HEALTH d/b/a
     ST. ROSE DOMINICAN, SIENA CAMPUS
13

14
     GABROY LAW OFFICES
15

16   /s/ Christian Gabroy               _____
     Christian Gabroy, Esq.
17
     GABROY LAW OFFICES
18   170 South Green Valley Pkwy., #280
     Henderson, Nevada 89012
19   Attorneys for Defendant
     MICHAEL SCHNEIER NEUROSURGICAL CONSULTING, P.C.
20

21
     WEINBERG, ROGER & ROSENFELD
22
     /s/_Sean W. McDonald__________________
23
     Kristina L. Hillman, Esq.
24   Sean W. McDonald, Esq.
     WEINBERG, ROGER & ROSENFELD
25   3199 E Warm Springs Rd Ste 400
     Las Vegas, NV 89120
26
     Attorneys for Defendant
27   OPERATING ENGINEERS LOCAL 501
     SECURITY FUND
28
Case 2:21-cv-00909-JAD-DJA Document 55 Filed 04/13/23 Page 4 of 4
